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 8                             UNITED STATES DISTRICT COURT

 9                          NORTHERN DISTRICT OF CALIFORNIA

10                                 SAN FRANCISCO DIVISION

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12 IN RE GOOGLE PLAY STORE
   ANTITRUST LITIGATION,                       Case No. 3:21-md-02981-JD
13
   THIS DOCUMENT RELATES TO:                   [PROPOSED] ORDER RE: GOOGLE’S
14                                             EMERGENCY ADMINISTRATIVE
                                               MOTION FOR IMMEDIATE PARTIAL
15 Epic Games, Inc. v. Google LLC et al.,
   Case No. 3:20-cv-05671-JD                   ADMINISTRATIVE STAY OF
16                                             PERMANENT INJUNCTION;
                                               EXPEDITED BRIEFING ON ITS
17                                             MOTION FOR PARTIAL STAY
                                               PENDING APPEAL; AND TO FILE AN
18                                             OVERLENGTH MOTION FOR PARTIAL
19                                             STAY PENDING APPEAL

20                                             Judge:   Hon. James Donato

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28     [PROPOSED] ORDER RE: GOOGLE’S EMERGENCY ADMINISTRATIVE MOTION FOR IMMEDIATE
       PARTIAL ADMINISTRATIVE STAY OF PERMANENT INJUNCTION; EXPEDITED BRIEFING ON ITS
       MOTION FOR PARTIAL STAY PENDING APPEAL; AND TO FILE AN OVERLENGTH MOTION FOR
                                 PARTIAL STAY PENDING APPEAL
                             Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
      Case 3:21-md-02981-JD Document 1021-1 Filed 10/11/24 Page 2 of 2




 1         Defendants Google LLC, et al. have filed an Emergency Administrative Motion for an

 2 Immediate Partial Administrative Stay of Permanent Injunction; Expedited Briefing on its Motion

 3 for Partial Stay Pending Appeal; and to File an Overlength Motion for Partial Stay Pending

 4 Appeal.

 5         Having fully considered the papers, and good cause appearing therefore:

 6         IT IS HEREBY ORDERED that Google’s Emergency Administrative Motion for an

 7 Immediate Partial Administrative Stay of Permanent Injunction; Expedited Briefing on its Motion

 8 for Partial Stay Pending Appeal; and to File an Overlength Motion for Partial Stay Pending

 9 Appeal is GRANTED, and it is hereby ordered as follows:

10             (1) all provisions of this Court’s permanent injunction issued on October 7, 2024,

11                except ¶ 8 (Dkt. 1017) are stayed until 30 days after this Court has issued a ruling

12                on Google’s motion to stay pending appeal;

13             (2) Google shall have leave to file a motion for a partial stay pending appeal that

14                exceeds the limit for non-dispositive motions set by this Court’s standing order in

15                civil cases by 8 pages; and

16             (3) Epic Games’s response to Google’s motion for a partial stay pending appeal is due

17                no later than October 18, 2024, and Google’s reply thereto is due no later than

18                October 23, 2024.

19         SO ORDERED.

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23 Dated: ____________, 2024
                                                  Honorable James Donato
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                                                  United States District Judge
25                                                Northern District of California

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28     [PROPOSED] ORDER RE: GOOGLE’S EMERGENCY ADMINISTRATIVE MOTION FOR IMMEDIATE
       PARTIAL ADMINISTRATIVE STAY OF PERMANENT INJUNCTION; EXPEDITED BRIEFING ON ITS
       MOTION FOR PARTIAL STAY PENDING APPEAL; AND TO FILE AN OVERLENGTH MOTION FOR
                                 PARTIAL STAY PENDING APPEAL
                             Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
